                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                         CASE NO. 5:06-CR-00022-RLV-CH-9

UNITED STATES OF AMERICA, )
                          )
     v.                   )                  ORDER
                          )
STERLING LEE DREW,        )
                          )
           Defendant.     )
                          )

       THIS MATTER is before the Court on Defendant Drew’s recent letter (Doc. 1063) and

Motion to Reduce Sentence (Doc. 934).

       Defendant pled guilty to conspiracy to possess with intent to distribute a quantity of

cocaine base, more than 1.5 kilograms of which was known or reasonably foreseeable to him,

and is presently serving a 120-month sentence, which is the mandatory statutory minimum.

Believing himself entitled to a reduction of sentence pursuant to 18 U.S.C. § 3553(e) and section

5K1.1 of the United States Sentencing Guidelines in light of the substantial assistance he

rendered, Defendant here asks the Court “to summon all parties before it and ascertain what the

problem is and why [Defendant] has not been released” (Doc. 934 at 2).1

       District courts are empowered, “[u]pon motion of the Government,” to impose a sentence

below the statutory minimum “to reflect a defendant’s substantial assistance to the investigation

or prosecution of another person who has committed an offense.” 18 U.S.C. § 3553(e). Similarly,

       1
         Though Defendant refers only to section 5K1.1, which does not permit the Court to
depart below the statutory minimum sentence absent an additional motion by the Government
under section 3553(e), United States v. Johnson, 393 F.3d 466, 470 n.4 (4th Cir. 2004) (citing
Melendez v. United States, 518 U.S. 120, 129–31 (1996)), the Court construes the Motion to
place both provisions in issue.

                                                1


   Case 5:06-cr-00022-KDB-SCR            Document 1075         Filed 01/24/13      Page 1 of 3
section 5K1.1 of the Guidelines permits district courts to craft a sentence below the minimum

otherwise required “[u]pon motion of the government stating that the defendant has provided

substantial assistance in the investigation or prosecution of another person who has committed an

offense.” Thus, under both section 3553(e) and section 5K1.1, the Court’s authority to depart is

conditioned upon the Government’s filing a “substantial assistance” motion. See Wade v. United

States, 504 U.S. 181, 185 (1992) (noting that the plain language of these provisions “gives the

Government a power, not a duty, to file a motion when a defendant has substantially assisted”).

And unless the Government’s failure to file a substantial assistance motion is “based on an

unconstitutional motive,” such as racial or religious animus, is “not rationally related to any

legitimate Government end,” Id. at 185–86, or is in breach of its explicit promise to make such a

motion, Untied States v. Conner, 930 F.2d 1073, 1075–77 (4th Cir. 1991), district courts have no

authority to review a prosecutor’s refusal to file a substantial assistance motion and grant a

remedy.

       Here, the Government’s basis for declining to file a substantial-assistance motion is yet

unknown to the Court. Before ruling on Defendant’s Motion, the Court would hear from the

Government regarding its view on any assistance provided by Defendant.




                                                 2


   Case 5:06-cr-00022-KDB-SCR             Document 1075         Filed 01/24/13      Page 2 of 3
       IT IS, THEREFORE, ORDERED that the Government submit, within fourteen days of

the date on which this order is filed, a brief response to Defendant Drew’s Motion to Reduce

Sentence. (Doc. 934.) Decision on the Motion shall be stayed pending receipt.

                                               Signed: January 24, 2013




                                               3


   Case 5:06-cr-00022-KDB-SCR           Document 1075        Filed 01/24/13     Page 3 of 3
